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 2                                           UNITED STATES DISTRICT COURT
 3                                          EASTERN DISTRICT OF CALIFORNIA
 4
                                                                  )   Case No.: 10CR-00323-LJO-03
 5   UNITED STATES OF AMERICA,                                    )
                                                                  )
 6                                  Plaintiff,                    )   ORDER
                                                                  )   GRANTING MOTION
 7                            vs.                                 )   TO CONTINUE SENTENCING
     DONACIANO ROSALES-MAGANA,                                    )
 8                                                                )
                                                                  )
 9                                                                )
                                    Defendant.                    )
10

11                            Having considered Defendant Rosales Magana’s first motion to continue the
12   sentencing date presently scheduled for November 14, 2011, at 1:00 p.m. to a date
13   convenient to all parties the Court has read and considered the motion and all other
14   matters presented to the Court, and finds good cause, HEREBY ORDERS as follows:
15                            Defendant, Donaciano Rosales-Magana’s motion to continue Sentencing from
16   November 14, 2011, to November 28, 2011 at 1:00 p.m. is GRANTED.
17

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20
     IT IS SO ORDERED.
21

22                         Dated:   November 7, 2011                      /s/ Lawrence J. O’Neill
                                                                       UNITED STATES DISTRICT JUDGE
23   DEAC_Signature-END:




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